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 1                                                        THE HONORABLE RICHARD JONES
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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE
 9   LIBERTY MUTUAL INSURANCE                         )
     COMPANY, a Massachusetts corporation,            )
10                                                    )
                                       Plaintiff,     )
11                                                    )
            v.                                        )    Case No. 2:19-cv-00974-RAJ
12                                                    )
     AIG SPECIALTY INSURANCE                          )    ANSWER
13   COMPANY f/k/a CHARTIS SPECIALTY                  )
     INSURANCE COMPANY, a subsidiary of               )
14   AMERICAN INTERNATIONAL GROUP,                    )
     INC., a Delaware corporation,                    )
15                                                    )
                                     Defendant.       )
16                                                    )
17          COMES NOW defendant AIG Specialty Insurance Company (“ASIC”), 1 by and
18   through its counsel of record Jensen Morse Baker PLLC, and for its answer and affirmative
19   defenses hereby admits, denies, and alleges as follows:
20
                                                    PARTIES
21
            1.      Answering paragraph 1, ASIC lacks information sufficient to form a belief about
22
     the truth of the allegations, and therefore denies them.
23
            2.      Answering paragraph 2, ASIC admits that it is an indirect subsidiary of
24
     American International Group, Inc. Except as expressly admitted, ASIC lacks sufficient
25
     1
       Plaintiff’s complaint names AIG Specialty Insurance Company as the party defendant, and
26   appears to refer to AIG Specialty Insurance Company as “AIG.” To the extent “AIG” refers to
     any entity other than AIG Specialty Insurance Company, the allegations are denied.
27
     ANSWER - 1                                                           JENSEN MORSE BAKER PLLC
                                                                         1809 SEVENTH AVENUE, SUITE 410
                                                                         SEATTLE, WASHINGTON 98101
                                                                               PHONE: 206.682.1550
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 1   information to form a belief about the truth of the allegations, and therefore denies them.

 2                                   JURISDICTION AND VENUE

 3          3.      Answering paragraph 3, ASIC denies that it is a Delaware corporation

 4   headquartered in New York. In fact, ASIC is an Illinois corporation with its administrative

 5   headquarters in Illinois. ASIC lacks information sufficient to form a belief about the truth of the

 6   allegations regarding plaintiff’s state of incorporation and headquarters, and therefore denies

 7   them. ASIC asserts that the remaining allegations contain legal conclusions to which no answer

 8   is required. To the extent an answer is deemed to be required, ASIC lacks sufficient

 9   information to form a belief about the truth of the allegations, and therefore denies them.

10   Except as expressly admitted, ASIC denies the allegations.

11          4.      Answering paragraph 4, ASIC admits that Liberty purports to seek damages in

12   excess of $75,000. Except as expressly admitted, ASIC denies the allegations.

13          5.      Answering paragraph 5, ASIC asserts that the allegations contain legal

14   conclusions to which no answer is required. To the extent an answer is deemed to be required,

15   ASIC lacks sufficient information to form a belief about the truth of the allegations, and

16   therefore denies them.

17                                    FACTUAL BACKGROUND

18          6.      Answering paragraph 6, ASIC lacks sufficient information to form a belief about

19   the truth of the allegations, and therefore denies them.

20          7.      Answering paragraph 7, ASIC lacks sufficient information to form a belief about

21   the truth of the allegations, and therefore denies them.

22          8.      Answering paragraph 8, ASIC lacks sufficient information to form a belief about

23   the truth of the allegations, and therefore denies them.

24          9.      Answering paragraph 9, ASIC admits that it issued a primary commercial

25   general liability and professional liability insurance policy to the named insured Performance

26   Abatement Services (the “ASIC Policy”). ASIC further admits that the ASIC Policy speaks for

27   itself, and denies the allegations to the extent they are inconsistent with the ASIC Policy.
     ANSWER - 2                                                              JENSEN MORSE BAKER PLLC
                                                                            1809 SEVENTH AVENUE, SUITE 410
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  PHONE: 206.682.1550
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 1   Except as expressly admitted, ASIC denies the allegations.

 2          10.     Answering paragraph 10, ASIC lacks information sufficient to form a belief

 3   about the truth of the allegations, and therefore denies them.

 4          11.     Answering paragraph 11, ASIC lacks information sufficient to form a belief

 5   about the truth of the allegations that plaintiff accepted liability, and therefore denies those

 6   allegations. ASIC asserts that the remaining allegations contain legal conclusions to which no

 7   answer is required. To the extent an answer is deemed to be required, ASIC responds that it

 8   agreed to provide insurance coverage to Boeing consistent with the terms and conditions of the

 9   ASIC Policy. Except as expressly admitted, ASIC denies the allegations.

10          12.     Answering paragraph 12, ASIC admits that King County Case No. 14-2-09457-

11   4, Mendoza v. The Boeing Company and Turner Construction Company, was settled pursuant

12   to a confidential settlement. The amount of the settlement is confidential. Except as expressly

13   admitted, ASIC denies that allegations.

14          13.     Answering paragraph 13, ASIC admits that the settlement agreement speaks for

15   itself, and denies the allegations to the extent they are inconsistent with the settlement

16   agreement. ASIC lacks information sufficient to form a belief about the truth of the allegation

17   that $250,000 is the policy limit of Liberty Mutual’s primary policy. Except as expressly

18   admitted, ASIC denies the allegations.

19          14.     Answering paragraph 14, ASIC admits that the settlement agreement speaks for

20   itself, and denies the allegations to the extent they are inconsistent with the settlement

21   agreement.

22          15.     Answering paragraph 15, ASIC denies the allegations.

23          16.     Answering paragraph 16, ASIC admits that it paid $300,000 in connection with

24   the confidential settlement. Except as expressly admitted, ASIC denies the allegations.

25          17.     Answering paragraph 17, ASIC denies the allegations.

26          18.     Answering paragraph 18, ASIC lacks information sufficient to form a belief

27   about the truth of the allegations, and therefore denies them.
     ANSWER - 3                                                            JENSEN MORSE BAKER PLLC
                                                                          1809 SEVENTH AVENUE, SUITE 410
                                                                          SEATTLE, WASHINGTON 98101
                                                                                PHONE: 206.682.1550
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 1          19.     Answering paragraph 19, ASIC lacks information sufficient to form a belief

 2   about the truth of the allegations, and therefore denies them.

 3          20.     Answering paragraph 20, ASIC admits that the ASIC Policy speaks for itself,

 4   and denies the allegations to the extent they are inconsistent with the ASIC Policy. Except as

 5   expressly admitted, ASIC denies the allegations.

 6                                   FIRST CLAIM FOR RELIEF

 7                                            (Subrogation)

 8          21.     Answering paragraph 21, ASIC incorporates by reference its responses to the

 9   preceding paragraphs as though fully set forth herein.

10          22.     Answering paragraph 22, ASIC asserts that the allegations contain legal

11   conclusions to which no answer is required. To the extent an answer is deemed to be required,

12   ASIC denies the allegations.

13          23.     Answering paragraph 23, ASIC asserts that the allegations contain legal

14   conclusions to which no answer is required. To the extent an answer is deemed to be required,

15   ASIC denies the allegations.

16          24.     Answering paragraph 24, ASIC asserts that the allegations contain legal

17   conclusions to which no answer is required. To the extent an answer is deemed to be required,

18   ASIC denies the allegations.

19                                  SECOND CLAIM FOR RELIEF

20                                            (Contribution)

21          25.     Answering paragraph 25, ASIC incorporates by reference its responses to the

22   preceding paragraphs as though fully set forth herein.

23          26.     Answering paragraph 26, ASIC asserts that the allegations contain legal

24   conclusions to which no answer is required. To the extent an answer is deemed to be required,

25   ASIC denies the allegations.

26          27.     Answering paragraph 27, ASIC asserts that the allegations contain legal

27   conclusions to which no answer is required. To the extent an answer is deemed to be required,
     ANSWER - 4                                                          JENSEN MORSE BAKER PLLC
                                                                        1809 SEVENTH AVENUE, SUITE 410
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                                                                              PHONE: 206.682.1550
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 1   ASIC denies the allegations.

 2              28.    Answering paragraph 28, ASIC asserts that the allegations contain legal

 3   conclusions to which no answer is required. To the extent an answer is deemed to be required,

 4   ASIC denies the allegations.

 5                                           PRAYER FOR RELIEF

 6              Answering plaintiff’s prayer for relief, ASIC denies that plaintiff is entitled to the relief

 7   requested therein.

 8                                        AFFIRMATIVE DEFENSES

 9              1.     The complaint fails to state a claim upon which relief can be granted, wholly or

10   in part.

11              2.     Plaintiff’s claims are barred by the doctrine(s) of waiver, estoppel, or laches.

12              3.     Plaintiff’s claims are barred by the doctrine of unclean hands.

13              4.     Plaintiff’s claims are barred, either in whole or in part, by virtue of the various

14   provisions, exclusions, definitions, terms, conditions, endorsements and limitations of the ASIC

15   Policy. ASIC reserves the right to rely upon any and all provisions and terms of the ASIC

16   Policy in its defense of this matter.

17              5.     Plaintiff’s claims are barred, in whole or in part, to the extent the proximate

18   cause of the damages, if any, sustained by plaintiff was the negligence, fault, acts or omissions

19   of entities other than ASIC.

20              6.     Plaintiff’s claims and/or damages are barred, in whole or in part, based on its

21   contributory fault, and/or failure to mitigate its damages (if any), and/or its lack of good faith.

22                                           PRAYER FOR RELIEF

23              WHEREFORE, having fully answered the allegations of plaintiff’s complaint, and

24   having denied that plaintiff is entitled to the relief requested in its complaint, and having

25   asserted affirmative defenses, ASIC prays that the Court:

26              1.     Dismiss plaintiff’s causes of action against it with prejudice;

27              2.     Award ASIC its costs and expenses herein incurred and expended; and
     ANSWER - 5                                                                  JENSEN MORSE BAKER PLLC
                                                                                1809 SEVENTH AVENUE, SUITE 410
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                                                                                      PHONE: 206.682.1550
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 1        3.      Award such other and further relief as the Court deems just and equitable.

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 3        DATED: August 23, 2019

 4
                                                JENSEN MORSE BAKER PLLC
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 6
                                                By s/ Gabriel Baker
 7                                               Gabriel Baker, WSBA No. 28473
                                                 Benjamin J. Roesch, WSBA No. 39960
 8
                                                Attorneys for Defendant AIG Specialty Insurance
 9                                              Company
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     ANSWER - 6                                                          JENSEN MORSE BAKER PLLC
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                                                                        SEATTLE, WASHINGTON 98101
                                                                              PHONE: 206.682.1550
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 1                                  CERTIFICATE OF SERVICE
 2          Pursuant to RCW 9A.72.085, the undersigned certifies, under penalty of perjury under

 3   the laws of the State of Washington, that on the 23rd day of August, 2019, the document

 4   attached hereto was delivered to the below counsel in the manner indicated.

 5
     A. Troy Hunter                                      by CM/ECF
 6   Ryan Chandler Sobotka                               by Electronic Mail
     Issaquah Law Group                                  by Facsimile Transmission
 7   410 Newport Way NW                                  by First Class Mail
     Suite C                                             by Hand Delivery
 8   Issaquah, WA 98027                                  by Overnight Delivery

 9

10   Ryan R. Yates                                       by CM/ECF
     Richard E. Schmittel                                by Electronic Mail
11   Yates Law Firm, LLC                                 by Facsimile Transmission
     18919 Denver West Drive, Ste 225                    by First Class Mail
12   Golden, CO 80401                                    by Hand Delivery
                                                         by Overnight Delivery
13

14
            DATED this 23rd day of August, 2019.
15

16                                               By /s/ Gabriel Baker
                                                   Gabriel Baker
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     ANSWER - 7                                                            JENSEN MORSE BAKER PLLC
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                                                                                PHONE: 206.682.1550
